SUMMONS
revised January 2012


                                           UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF ARIZONA


In re:                                                       Case No.: 2:18−bk−03535−DPC

  PAULINA RUIZ BUHAGIAR                                      Chapter: 7
Debtor(s)



     Robert A MacKenzie                                      Adversary No.: 2:18−ap−00402−DPC

Plaintiff(s)

v.

     PAULINA RUIZ BUHAGIAR

Defendant(s)



                             SUMMONS IN AN ADVERSARY PROCEEDING


   To each Defendant listed above, YOU ARE SUMMONED and required to submit a motion or answer to the
complaint which is attached to this summons to the Clerk of the Bankruptcy Court within 30 days from the date of
issuance of this summons, except that the United States and its offices and agencies shall submit a motion or answer to
the complaint within 35 days of issuance.


Address of the Bankruptcy Clerk's Office                         U.S. Bankruptcy Court, Arizona
                                                                 230 North First Avenue, Suite 101
                                                                 Phoenix, AZ 85003−1727


    At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney, or the plaintiff,
if not represented by an attorney.

Name and Address of Plaintiff's Attorney                         TERRY A. DAKE
                                                                 TERRY A. DAKE, LTD.
                                                                 20 E. Thomas Rd.
                                                                 Ste. 2200
                                                                 PHOENIX, AZ 85012−3133



If you make a motion, your time to answer is governed by Federal Rule of Bankruptcy Procedure 7012.


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY
DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.



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Date: September 26, 2018

Address of the Bankruptcy Clerk's Office:        Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov
                                                 George Prentice




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                                       UNITED STATES BANKRUPTCY COURT
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In re:                                                         Case No.: 2:18−bk−03535−DPC

  PAULINA RUIZ BUHAGIAR                                        Chapter: 7
Debtor(s)



   Robert A MacKenzie                                          Adversary No.: 2:18−ap−00402−DPC
Plaintiff(s)

v.

  PAULINA RUIZ BUHAGIAR
Defendant(s)




                                          CERTIFICATE OF SERVICE


     I, __________________________________________ (name), certify that service of this summons and

a copy of the complaint was made on __________________________________________, (name of defendant),

___________________________________ (date) by:



          Mail service: Regular, first class United States mail, postage fully pre−paid, addressed to:




          Personal Service: By leaving the process with the defendant or with an officer or agent of defendant at:




          Residence Service: By leaving the process with the following adult at:




                       − − − CERTIFICATE OF SERVICE CONTINUES ON NEXT PAGE − − −




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     Certified Mail Service on an Insured Depository Institution: By sending the process by certified mail addressed to
the following officer of the defendant at:




    Publication: the defendant was served as follows: [Describe briefly]




   State Law: The defendant was served pursuant to the laws of the State of ___________________, as follows
[Describe briefly]




   If service was made by personal service, by residence service, or pursuant to state law, I futher certify that I am,
and at all times during the service of process was, not less than 18 years of age and not a party to the matter
concerning which service of process was made.


   Under penalty of perjury, I declare that the foregoing is true and correct.



   Date ___________________                        Signature ______________________________________


                                               Print Name : ______________________________________


                                         Business Address : ______________________________________


                                                              ______________________________________




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